                 Case 1-19-47700-nhl              Doc 12        Filed 01/29/20         Entered 01/30/20 00:19:40

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 19-47700-nhl
Kara Naylor                                                                                                Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: jlecky                       Page 1 of 1                          Date Rcvd: Jan 27, 2020
                                      Form ID: 273                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 29, 2020.
db             +Kara Naylor,   31 Desales Place,   Apt. #2,   Brooklyn, NY 11207-1706

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 29, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 24, 2020 at the address(es) listed below:
              David J. Doyaga   david.doyaga.sr@gmail.com, NY98@ecfcbis.com,carolina@doyagalawfirm.com
              Norma E Ortiz   on behalf of Debtor Kara Naylor email@ortizandortiz.com,
               ortiznoticeme@gmail.com;bkcourt@gmail.com;ortiznr70019@notify.bestcase.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 3
                 Case 1-19-47700-nhl                    Doc 12   Filed 01/29/20       Entered 01/30/20 00:19:40


  Information to identify the case:
  Debtor 1              Kara Naylor                                                 Social Security number or ITIN   xxx−xx−2589
                        First Name    Middle Name   Last Name                       EIN _ _−_ _ _ _ _ _ _
  Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                        First Name    Middle Name   Last Name
  (Spouse, if filing)
                                                                                    EIN   _ _−_ _ _ _ _ _ _
  United States Bankruptcy Court             Eastern District of New York
                                                                                    Date case filed for chapter 7 12/24/19
  Case number:          1−19−47700−nhl



                                     FINAL NOTICE OF SECTION 521 DEFICIENCIES

NOTICE IS HEREBY GIVEN THAT:
One or more deficiencies remain regarding the document(s) indicated below. Under § 521(i)(1) of the Bankruptcy Code,
these documents are required to be filed no later than 45 days from the filing of the petition.


                Notice Required by 11 U.S.C. §342(b) of the Bankruptcy Code for Individuals Filing for Bankruptcy
                (Official Form 2010) − Part 7 of Voluntary Petition Not Signed
                Schedule A/B
                Schedule D
                Schedule E/F
                Schedule I
                Schedule J
                Statement of Financial Affairs
                Statement of Your Current Monthly Income and Means Test Calculation
                Copies of Pay Statements received within 60 days prior to the date of filing

Failure to file the required documents within 45 days of the date of filing of the petition may result in the case being
dismissed without further notice or hearing, unless an extension of time under § 521(i)(3) or (4) of the Bankruptcy Code is
made.


Dated: January 24, 2020

                                                                            For the Court, Robert A. Gavin, Jr., Clerk of Court




 GTntcdef521a3.jsp [Final Deficiency Notice rev. 02/01/17]
